Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 1 of 15




   Domb Declaration

                Exhibit 17
          Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 2 of 15


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08/2014


               In Madrid, on 4 March 2015

                                                        BETWEEN

               ON ONE HAND, Mr. Armando Luis Betancor Alamo, of legal age, of Spanish nationality,
               with professional address at Madrid, calle Ayala, 27, and with Spanish Identification
               Number (Document° Nacional de identidad) 43.767.726-Z; and

               ON ANOTHER HAND, Mr. Salvador Javier Mendieta Grande, of legal age, of Spanish
               nationality, with professional address at and with Spanish Identification Number
               (Document° Nacional de Identidad) 1.935.521-W;

                                                        THEY ACT

               Mr. Armando Luis Betancor Alamo acts on behalf of the companies Petersen Energia, S.A.
               ("PESA"), a Spanish company, duly organized and existing under the laws of the Kingdom
               of Spain, with corporate domicile at Madrid, Velazquez, 9; 1' planta, and Tax Identification
               Number A-85174621, and registered with the Mercantile Registry of Madrid, and Petersen
               Energia Inversora, S.A. ("PEISA"), a Spanish company, duly organized and existing under
               the laws of the Kingdom of Spain, with corporate domicile at Madrid, calle Velazquez, 9; 1'
               planta, and Tax Identification Number A- 85392751, registered with the Mercantile Registry
               of Madrid, in his condition of insolvency administrator and liquidator of PESA and PEISA
               appointed by virtue of the corresponding resolutions of the Commercial Court no. 3 of
               Madrid on 23 October 2012 (within the insolvency proceedings 405/2012, of PESA, and the
               insolvency proceedings 523/2012, of PEISA), whose acceptance of the office took place on
               the same date.

               Mr. Salvador Javier Mendieta Grande acts on behalf of Prospect Investments LLC
               ("Prospect"), a company duly organized and existing under the laws of the State of
               Delaware (United States of America), with registered office at 2711 Centerville Road,
               Wilmington, DE 29808 (United States of America), registered with the Company Registry of
               Delaware under number 5591054, in his/her condition of attorney, by virtue of the power of
               attorney granted on 2 March 2015, authorized by a duly qualified Notary Public and duly
               apostilled.

               PESA and PEISA shall be jointly referred to as the "Pledgors". Prospect shall also be
               referred to as the Pledgee.

               The Pledgors and the Pledgee shall be jointly referred to as the "Parties".

               The Parties declare that the legal capacity and personality of the entities on behalf of which
               they act has not changed and that the powers that they exercise have not been revoked,
               suspended or limited in any way.




                                                                                                  Page 1114
Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 3 of 15



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     And pursuant to the above, they grant this PLEDGE AGREEMENT and, to that effect

                                               DECLARE

      L That, pursuant to a claim prosecution agreement (hereinafter, the "Claim Prosecution
     Agreement") governed by common Spanish law, dated 4 March 2015 and entered into
     among the Pledgors and the Pledgee (which is attached hereto as Schedule 1), the Pledgee
     has agreed to pay the Pledgors, for the integration in the estates of their insolvency
     proceedings, fifteen million one hundred one thousand Euros (Euro 15,101,000.00)) and
     thirty per cent (30%) of the proceeds of the below-described claims, in consideration for
     Prospect (a) receiving the exclusive right to direct, manage, fund and settle the Pledgors'
     claims against any natural person, any corporation, limited liability company, trust, joint
     venture, association, company, partnership or other entity, or any government or other
     governmental authority or others resulting from, arising out of or otherwise related to the
     facts and circumstances related to or caused by the expropriation of shares of YPF, S.A.
     ("YPF") from Repsol S.A. that resulted in damage or harm to the Pledgors, including but not
     limited to (i) any breach of any investor protection set forth in the bilateral investment treaty
     between Spain and Argentina; (ii) any breach or failure to comply with the by-laws of YPF;
     (iii) any breach or failure to comply with any shareholder agreement; (iv) any breach of any
     other duty to the Counterparty arising pursuant to contract or at law or in equity; or (v) any
     facts or circumstances otherwise relevant to the Pledgors' interest, rights or ownership in
     YPF and/or loss or reduction in value thereof (collectively, the "Claims"), and (b) receiving
     seventy per cent (70%) of the Proceeds of the Claims (the "Capital Provider's
     Entitlement").

     H. That the Parties are fully aware of and confirm all the terms and conditions in the Claim
     Prosecution Agreement.

     M. That the Pledgors have undertaken, inter alia, to grant an in rem first ranking pledge
     right in favor of the Pledgee, over the credit rights over the Claims and over any Claim
     Resolution, as security for the full and punctual performance of the obligations undertaken
     by the Pledgors under the Claim Prosecution Agreement.

     N. That, the Parties expressly acknowledge that the obligation to create such in rem pledge
     is an essential structural element of the transactions contemplated in the Claim Prosecution
     Agreement and, thus, of the payment of fifteen million one hundred one thousand Euros
     (Euro 15,101,000.00) by the Pledgee and its financing of the Claims, and that such payment
     and financing will be made considering the obligation of the Pledgors to execute this
     agreement.

     V. That, in view of the foregoing, with the purpose of creating the security set out in the
     preceding Recital, the Parties agree to execute this pledge agreement (hereinafter, the
     "Pledge Agreement"), according to the following




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          Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 4 of 15


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                                                       CLAUSES

              1. Common definitions and construction

              1.1. For the purposes of this Pledge Agreement, and unless otherwise provided herein,
              capitalized terms shall have the meaning assigned thereto in the Claim Prosecution
              Agreement unless herein defined or unless a contrary intention appears.

               1.2. In the event of a conflict between the terms of this Pledge Agreement and the Claim
               Prosecution Ageement, the terms of the Claim Prosecution Agreement shall prevail.

              1.3. In the event of a conflict between the terms of this Pledge Agreement and any document
              related to the subject matter of the Claim Prosecution Agreement (other than the Claim
              Prosecution Agreement), the terms of this Pledge Agreement shall prevail.

              1.4. Any reference to any document shall include such document as it is or may be amended,
              novated, transferred, ratified or supplemented at any given time and any reference to any of
              the parties of a document shall be understood as made to its successors or assignees.

              1.5. Notwithstanding the above, for the purposes of this Pledge Agreement, the following
              definitions are applicable:

              "Credit Rights Over the Claims and Any Claim Resolution": all rights, current or future,
              title and interests derived from the Claims and from any Claim Resolution, which shall
              include any Proceeds.

              "Liabilities of PESA and PEISA": the payment obligation of all present and future moneys,
              debts and obligations due, owing or incurred by the Pledgors to the Pledgee, or to which the
              Pledgee is entitled, under or in connection with the Claim Prosecution Agreement (whether
              alone or jointly and severally, with any other person, whether actually or contingently),
              including but not limited to, the Capital Provider's Entitlement, any interests, both ordinary
              and default, commissions, compensations, penalties, expenses and taxes, even those arising
              from the fulfillment, early termination or resolution of the Claim Prosecution Agreement, as
              well as any other expense or in-court or out-of-court fees incurred in the establishment,
              effectiveness, cancellation or execution of the security included or related to the Claim
              Prosecution Agreement.

              2. Creation and extension of the pledge of Credit Rights Over the Claims and Any
              Claim Resolution

              2.1. As security for the total and accurate fulfillment of all the Liabilities of PESA and
              PEISA and without prejudice to the personal and unlimited liability of the Pledgors by virtue
              of the Claim Prosecution Agreement, according to Article 1,911 of the Spanish Civil Code -
              which shall not be limited in any manner whatsoever by the creation of the Pledge of Credit
              Rights Over the Claims and Any Claim Resolution (as defined below), the Pledgors create in




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Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 5 of 15



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     favor of the Pledgee a pledge of Credit Rights Over the Claims and Any Claim Resolution
     (hereinafter, the "Pledge of Credit Rights over the Claims and Any Claim Resolution").

     The Pledgee accepts, in this act, the creation of the Pledge of Credit Rights Over the Claims
     and Any Claim Resolution.

     2.2. The Pledge of Credit Rights Over the Claims and Any Claim Resolution created by
     virtue of this Pledge Agreement shall be automatically extended, and shall include, all the
     credit rights and Proceeds corresponding to the Pledgors by virtue of the Claims and/or any
     Claim Resolution.

     3. Liabilities. Indivisibility of the pledge.

     3.1. The Pledge of Credit Rights Over the Claims and Any Claim Resolution granted by
     virtue of this Pledge Agreement in favor of the Pledgee and, if applicable, of its assignees
     and successors, guarantees the full and accurate fulfillment of all Liabilities of PESA and
     PEISA in favor of the Pledgee.

     3.2. The Pledge of Credit Rights Over the Claims and Any Claim Resolution is created as a
     permanent security and shall be kept fully valid until all Liabilities of PESA and PEISA have
     been satisfied.

     3.3. The Pledge of Credit Rights Over the Claims and Any Claim Resolution created has an
     indivisible nature. Consequently, each and all of the receivables shall guarantee the full and
     accurate fulfillment by the Pledgors of the Liabilities of PESA and PEISA. Partial fulfillment
     of said obligations shall not proportionally cancel the Pledge of Credit Rights Over the
     Claims and Any Claim Resolution.

     3.4 The Pledgors may only urge the cancellation of the Pledge of Credit Rights Over the
     Claims and Any Claim Resolution once all Liabilities of PESA and PEISA have been fully
     satisfied.

     4. Transfer of possession

     4.1. For the purposes of Article 1,863 of the Spanish Civil Code, the Parties agree that the
     execution of this Pledge of Credit Rights Over the Claims and Any Claim Resolution in a
     public document shall represent the transfer of possession of the credit rights in favor of the
     Pledgee.

     4.2. The Parties agree that the Pledgee may, in its discretion, inform Opponent of the
     existence of such Pledge of Credit Rights Over the Claims and Any Claim Resolution
     granted by virtue of this Pledge Agreement, according to the form of notice attached as
     Schedule 2 of this Pledge Agreement, or in such other form as the Pledgee may reasonably
     request, and in such event the Pledgors will fully cooperate with the Pledgee's preparation
     and delivery of such notice.




                                                                                         Page 414
          Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 6 of 15


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               5. Other obligations

                   The Pledgors shall not do or fail to do, nor shall they allow anyone (including their
               Representatives) to do or fail to do anything that may damage the Credit Rights Over the
               Claims and Any Claim Resolution or the Pledge of Credit Rights Over the Claims and Any
               Claim Resolution.

               5.2. In particular and except otherwise provided in the Claim Prosecution Agreement, the
               Pledgors:

               (i) shall not create or allow the existence of any security interest, charge or encumbrance, nor
               shall they grant any preemption right of any nature over the Credit Rights Over the Claims
               and Any Claim Resolution, nor shall they do any other action prohibited by the Claim
               Prosecution Agreement Moreover, they shall not waive, without the prior consent of the
               Pledge; any rights of the Pledgors derived therefrom insofar as the Pledge of Credit Rights
               Over the Claims and Any Claim Resolution could be negatively affected;

               (ii) shall not take part (nor agree to do so) in any transaction or set of transactions to sell,
               grant a loan, lend, transfer or dispose in any other manner of the Credit Rights Over the
               Claims and Any Claim Resolution unless in the events authorized by the Claim Prosecution
               Agreement;

               (iii) shall not modify, cancel or waive the Credit Rights Over the Claims and Any Claim
               Resolution without the prior written consent of the Pledgee;

               (iv) shall not enter into any agreement for a payment deferral, reduction or balance regarding
               the amounts due or the claims made in relation to the Credit Rights Over the Claims and Any
               Claim Resolution;

               (v) shall maintain the Pledgee informed at all times of the circumstances regarding the Credit
               Rights Over the Claims and Any Claim Resolution insofar as those circumstances may affect
               the Pledge of Credit Rights Over the Claims and Any Claim Resolution; and

               (vi) shall immediately serve notice to the Pledgee of any fact, act or circumstance which may
               affect in any manner the Credit Rights Over the Claims and Any Claim Resolution and any
               other rights or powers of the Pledgee under the Pledge Agreement, including, without
               limitation, any claim or action (or seizure request) filed or made by any third party against
               the Pledgees, the Credit Rights Over the Claims and Any Claim Resolution and any decision,
               ruling or resolution from any judicial or administrative body over or in relation to the Credit
               Rights Over the Claims and Any Claim Resolution.

               5.3. At any time, and unless otherwise established in the Claim Prosecution Agreement, the
               Pledgors shall enter into, grant, sign, hand and/or ratify all deeds, policies, notices and
               documents and shall take all actions requested by the Pledgee for or in relation to:

               (i) the maintenance, execution, protection or, if applicable, foreclosure of the Pledge of



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Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 7 of 15



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     Credit Rights Over the Claims and Any Claim Resolution and of the rights conferred to the
     Pledgee, including any novation, addition or amendment to this Pledge Agreement; and

     (ii) the extension of the Pledge of Credit Rights Over the Claims and Any Claim Resolution,
     immediately delivering, for the purposes of such extension, to the Pledgee the possession of
     any security, asset, right, shares or funds to which the Pledge of Credit Rights Over the
     Claims and Any Claim Resolution extends, according to the provisions of this Pledge
     Agreement, committing themselves to granting and/or procuring, to the extent possible, that
     any third party grants the necessary documents for the extension of the Pledge of Credit
     Rights Over the Claims and Any Claim Resolution.

     6. Representations and warranties of the Pledgors

     6.1. Each of the Pledgors represents and warrants, in respect of themselves:

     (i) that they have the capacity to enter into and fulfill this Pledge Agreement and that they
     have taken all actions necessary to authorize its execution and performance;

     (ii) that the acceptance and performance of the obligations in this Pledge Agreement (a) do
     not contravene any law, regulation, writ or official document; (b) do not conflict with any
     document or agreement that is binding upon the Pledgors;

     (iii) that the Pledgors have valid legal title to the Credit Rights Over the Claims and Any
     Claim Resolution;

     (iv) that the Credit Rights Over the Claims and Any Claim Resolution, in the necessary
     amount to fully satisfy the Liabilities of PESA and PEISA, are not subject to any claim,
     charge, encumbrance, seizure or any other type of duty in favor of third parties different
     from the Pledge of the Credit Rights Over the Claims and Any Claim Resolution granted by
     virtue of this Pledge Agreement and there are no indicia or threat that any of the foregoing
     exist; and

     (v) that no agreement or commitment of any of the Pledgors in any manner prejudices or
     affects the rights of the Pledgee under the Claim Prosecution Agreement or the Pledge of the
     Credit Rights Over the Claims and Any Claim Resolution.

     The representations and warranties provided in this clause are made on this date and shall be
     deemed ratified on the date of the extension of the Pledge of the Credit Rights Over the
     Claims and Any Claim Resolution on the grounds foreseen herein.

     7. Maturity and foreclosure of the Pledge of Credit Rights Over the Claims and Any
     Claim Resolution

     7.1. The Pledgee shall be authorized to foreclose the Pledge of Credit Rights Over the
     Claims and Any Claim Resolution, upon the occurrence of a breach of the Liabilities of
     PESA and PEISA or any breach of the obligations of PESA and PEISA or the Insolvency
     Administration under the Claim Prosecution Agreement, including, but not limited to, the


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          Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 8 of 15


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               obligation to take such             reasonably necessary or appropriate to ensure that any
               Proceeds are paid and distributed in accordance with clause 3 of the Claim Prosecution
               Agreement (an "Event of Default}.

               Regardless of the indivisible nature of the Pledge of Credit Rights Over the Claims and Any
               Claim Resolution, the Pledgee may foreclose it, totally or partially, in one or more occasions,
               in which case the Pledge of Credit Rights Over the Claims and Any Claim Resolution hereby
               granted will remain in force in respect of the part which has not been foreclosed.

               7.2. For purposes of the foreclosure of the Pledge of Credit Rights Over the Claims and Any
               Claim Resolution and without prejudice to the general unlimited liability of the Pledgors in
               the terms of the Claim Prosecution Agreement, that shall not be limited in any way by the
               creation of this Pledge of Credit Rights Over the Claims and Any Claim Resolution, the
               Pledgee may initiate, at its discretion, any proceedings legally available to it, including,
               without limitation, the foreclosure procedure set out in Articles 681 et seq. of the Spanish
               Civil Procedural Act (Ley I/2000, de 7 de enero, de Enjuiciandento Civil), and the extra
               judicial procedure set out in Article 1,872 of the Spanish Civil Code, or through any other
               procedure that may correspond at the moment of the foreclosure. In the event that the
               Pledgee decides to use any of these proceedings, such decision shall not preclude the
               possibility to use any of the others for as long as the Liabilities of PESA and PEISA have not
               been satisfied in full.

               7.3. For the foreclosure of the Pledge of Credit Rights Over the Claims and Any Claim
               Resolution, the notice issued by the Pledgee will suffice as long as it is sent to the Pledgors
               pointing out the existence of an Event of Default, and that, having required the payment,
               receipt or retention of any due and payable amounts to the Pledgors, or compliance with an
               oblir tion the breach of which may give rise to an Event of Default, in accordance to the
               Claim Prosecution Agreement, such request has not been promptly and duly fulfilled. That
               notification will also state the due amount resulting from the liquidation, determined as
               indicated below.

              7.4. For the foreclosure of the Pledge of Credit Rights Over the Claims and Any Claim
              Resolution, the Parties agree and expressly state that the due, liquid and payable amount in
              case of foreclosure will be the amount specified in the certification issued by the Pledgee in
              which the total balance of the obligations due to it under the Claim Prosecution Agreement is
              contained in accordance to the account maintained by it

              7.5. Given the monetary nature of the Credit Rights Over the Claims and Any Claim
              Resolution by virtue of this Pledge of Credit Rights Over the Claims and Any Claim
              Resolution, the Parties agree that it shall not be necessary to carry out any auction of such
              receivables for the foreclosure of the Pledge of Credit Rights Over the Claims and Any
              Claim Resolution. The Pledgee shall be entitled to enforce by compensation or set-off the
              Pledge of the Credit Rights Over the Claims and Any Claim Resolution after having
              informed the Pledgors, stating for those purposes in the notice, the amount of the outstanding
              Liabilities of PRSA and PEISA, by means of the collection of the Proceeds.


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Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 9 of 15



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     7.6. The Pledgee shall keep all its rights and actions with respect to the Liabilities of PESA
     and PEISA which have not been satisfied, or which have not been collected as a
     consequence of the foreclosure of this Pledge of Credit Rights Over the Claims and Any
     Claim Resolution.

     7.7. Failure or delay in the execution of any of the rights, powers and instruments foreseen
     by this Pledge Agreement or by the applicable legislation by any of the Parties, shall not be
     considered as a waiver thereof, just as a single waiver or partial waiver of such rights shall
     not exclude their subsequent exercise or the exercise of any other right.

     7.8. In the event that the Pledgee decides to follow the procedure set out in Article 1,872 of
     the Spanish Civil Code, the Parties agree that:

     (a) The addresses for purposes of notifications are those determined in accordance with
     Clause 8.5 below.

     (b) The reference price of the Credit Rights Over the Claims and Any Claim Resolution for
     purposes of the auction shall be the amount owed by the Pledgors.

     (c) The Pledgors appoint the Pledgee, who shall act through its authorized representatives, as
     their attorney to represent them in the auction of the Credit Rights Over the Claims and Any
     Claim Resolution, and irrevocably authorize the Pledgee to grant, in the name and on behalf
     of the Pledgors, all the public documents that are necessary to formalize the transfer of the
     Credit Rights Over the Claims and Any Claim Resolution to the acquirer or acquirers, as the
     case may be, with express authorization to grant any documents in which the Pledgee is a
     party as purchaser in its own name and on its own behalf.

     (d) The applicable notary public for the foreclosure shall be the one designated by the
     Pledgee and the reference price for the first auction shall be the price indicated in Clause 7.8
     (b) above. For the second auction, the minimum reference price shall be eighty per cent
     (80%) of the price indicated in Clause 7.8 (b) above. A minimum reference price will not be
     necessary for the third or subsequent auctions. The Credit Rights Over the Claims and Any
     Claim Resolution shall be awarded to the bidder making the highest bid. The disagreement
     of the Pledgors in relation to the amount or the enforceability of the debt shall not suspend or
     delay the foreclosure.

     (e) The notary public shall be authorized to carry out any actions he deems appropriate to
     ensure the publicity of the auctions.

     (f) All the bidders must deposit with the notary public by way of guarantee an amount equal
     to ten per cent (10%) of the reference price of the Credit Rights Over the Claims and Any
     Claim Resolution in the first auction. Such amount shall be returned to the non-successful
     bidders once the auction takes place. The Pledgee shall be authorized to appear as bidder and
     participate in all auctions without the need to make such deposit.

     (g) The successful bidder must pay the difference between the amount deposited in guarantee




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          Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 10 of 15


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               and the acquisition price              it Rights Over the Claims and Any Claim Resolution
               within three (3) business days following the date of the auction. In the event that the
               successful bidder does not pay such difference when due, it will lose the amount deposited as
               guarantee. Such amount shall be used to reduce the Liabilities of PESA and PEISA.
               Likewise, the successful bidder shall be entitled to assign its right to acquire the Credit
               Rights Over the Claims and Any Claim Resolution to a third party, by delivering to the
               Pledgee the documents evidencing the validity and effectiveness of such assignment within
               three (3) calendar days following the date of the assignment. The assignee must pay, in such
               a case, the difference between the amount deposited in guarantee by the successful bidder
               and the acquisition price of the Credit Rights Over the Claims and Any Claim Resolution
               within three (3) business days following the date of the auction. Lack of payment of such
               amount shall entail the loss of the amount deposited in guarantee. This amount shall be used
               to reduce the Liabilities of PESA and PEISA.

               (h) The amount obtained in the auction, once all expenses arising from the foreclosure
               procedure have been deducted, shall be delivered by the notary public to the Pledgee up to
               the amount necessary to satisfy all outstanding Liabilities of PESA and PEISA. The Pledgee
               shall acknowledge receipt of payment for the amount effectively received. In the absence of
               outstanding Liabilities of PESA and PEISA, the notary public shall deliver directly and
               immediately the remainder to the Pledgors.

               8. Common clauses

               8.1. Integrity of the Claim Prosecution Agreement

               The Parties agree and declare that this Pledge Agreement shall not modify the terms and
               conditions established in the Claim Prosecution Agreement.

               8.2. Taxes and expenses

               All notary public's fees, taxes, duties and, if applicable, notification costs, which may accrue
               and any other reasonable expenses related to the drafting, execution, raising to a public deed
               and fulfillment of this Pledge Agreement and its amendment, extension, cancellation or
               ratification shall be borne by the Pledgee.

               8.3. Assignments

               The Pledgee may assign its rights or its share in the Claim Prosecution Agreement in
               accordance with the terms thereof. The assignment shall imply, according to the provisions
               set out Article 1,528 of the Spanish Civil Code, the proportional assignment in favor of the
               assignee of the security interest granted in favor of the assignor by virtue of this Pledge
               Agreement

               Therefore, any time this Pledge Agreement refers to the Pledgee it shall be understood that
               such reference includes its successors and assignees and that all agreements, commitments or
               contracts entered into by the Pledgors or entered into in their name, shall be binding and



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Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 11 of 15



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     shall act for the benefit of the successors and assignees of the Pledgee.

     8.4. Integrity of this Pledge Agreement and further obligations

     In the event that any of the provisions contained in the Pledge Agreement were considered
     invalid, illegal, null or unenforceable, this would not affect the validity, legality and
     enforceability of the others. The Parties commit themselves to replace the invalid, illegal,
     null or unenforceable provision for a valid one, with an economic effect as similar as
     possible to that of the provision declared invalid, illegal, null or unenforceable. To this end,
     the Pledgors commit themselves to modify the security interest established under this Pledge
     Agreement according to this paragraph.

     8.5. Notices

     8.5.1. All requests, notices, notifications and communications between the Parties in relation
     to this Pledge Agreement shall be sent according to the provisions of the Claim Prosecution
     Agreement unless this Pledge Agreement foresees a more specific procedure or channel.

     8.5.2. The Parties, for the purposes of notifications, shall appoint the following addresses,
     fax numbers and e-mail addresses:

     (i)    For Prospect:

            Prospect Investments LLC
            2711 Centerville Road
            Wilmington, DE 29808
            Fax Number: (302) 636-5454
            Email Address: infogitfinsolutions.com
            Attn: Prospect Investments LLC Manager

     (ii)   For PESA and PEISA:

            Insolvency Administration of Petersen Energia, S.A.U.
            (Alas Abogados, S.L.)
            Insolvency Administration of Petersen Energia Inversora, S.A.U.
            (Alas Abogados, S.L.)
            CI Ayala 27, 4° Izq.
            28010 Madrid, Spain.
            Fax Number: +34 917 819 625
            Email Address:
            administracion@alasabogados.es
            betancor@alasabogados.es
            Attn: D. Armando Betancor Alamo
     8.53. Any change in the contact information of any Party shall be notified to the other Party
     as soon as possible, according to the terms of this Pledge Agreement and they shall only be
     effective after five (5) business days have elapsed since the date of receipt of the notice by
     the other Party.




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          Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 12 of 15


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               8.6. Amendment or attachments to this Pledge Agreement

               Should it be requested, the Pledgors commit themselves to granting, within the maximum
               period of ten (10) business days upon request of the Pledge; all public and private
               documents of amendment as well as all explanatory or additional documents.

               9. Governing law and jurisdiction

               9.1. This Agreement shall be governed by the common laws of Spain (derecho comim).

               9.2. The Parties hereby waive their right to any other jurisdiction and expressly and
               irrevocably submit the resolution of any dispute under or in relation to this Pledge
               Agreement to the jurisdiction of the Courts and Tribunals of the city of Madrid (Spain).

               10. Language

               This Pledge Agreement is executed in English and Spanish. However, in case of any
               discrepancy between both versions of the Pledge Agreement, the Spanish version shall
               prevail.

               In witness thereof, the Parties sign this Pledge Agreement in the place and date mentioned in
               the heading and in one sole counterpart for its notarization.

               PETERSEN ENERGiA INVERSORA, S.A.U.




               Title: Insolvency Administration


               PETERSEN ENERGIA, S.A.




               Title: Insolvency Administration


               PROSPE INVESTMENT L



                             or Ja 'er Mendieta Grande
               Title: Authori    Signatory



                                                                                                Page 11114
Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 13 of 15



                                          C111/1 /S1 Albiriiana & Suarez de Lew


                Schedule 1 (copy of the Claim Prosecution Agreement)




                                                                       Page 12114


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          Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 14 of 15


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08/2014

                Schedule 2 (dra             on to Opponent of the existence of the Pledge of Credit
                 Rights Over the Claims and Any Claim Resolution granted by virtue of the Pledge
                                                  Agreement)




                                                                                                       Madrid, [0]



               [bOpponent]



               Dear Sirs,
               Petersen Energia, S.A., a Spanish company, duly organized and existing under the laws of the
               Kingdom of Spain, with corporate domicile at [0], registered with the Mercantile Registry of [10],
               and Petersen Energia Inversora, S.A., a Spanish company, duly organized and existing under the
               laws of the Kingdom of Spain, with corporate domicile at [e], registered with the Mercantile
               Registry of [6] (the "Pledgors") notify you the following:

               As security of the obligations arising from the Claim Prosecution Agreement entered into by the
               Pledgors and Prospect Investments LLC (the "Pledgee") as of [tb], we granted a pledge over
               (a) the credit rights derived from [description of the specific claim] ("Claim"); and
               (b) the credit rights derived from either full and final settlement of the Claim or the entry of a
               final, non-appealable and enforceable judgment with respect to the Claim, in either case
               resolving with prejudice all aspects and elements of the Claim ("Claim Resolution").

               As consequence, and according to the above, we hereby expressly and irrevocably instruct you
               so that you proceed to make any payments, for any concept, under the Claim and/or Claim
               Resolution, through the [Payment Agent]'s deposit in the account with IRAN: [t] opened under
               the name of [Payment Agent], at Pal

               We also instruct you expressly and irrevocably so that, at the Pledgee's request, you immediately
               comply with any request that the Pledgee may send you in the scope of the enforcement
               proceeding of the abovementioned pledge to directly pay to a different account of the Pledgee
               any amounts that you may owe to us under the referred Claim and/or Claim Resolution.

               We also instruct you expressly and irrevocably to ignore and not fulfil any instruction or
               communication from the Pledgors that in any way contravenes or modifies the provisions set
               forth in this notice unless it is also signed by the Pledgee.

               Yours faithfully,




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Case 1:15-cv-02739-LAP Document 27-19 Filed 09/08/15 Page 15 of 15



                                          C'M1S1 Albi-liarta & Suarez de Lezo


     PETERSEN ENERGIA INVERSORA, S.A.U.

     By:
     Name:
     Title:


     PETERSEN ENERGIA, SA.




     By:
     Name:
     Title:


                                                       Received and accepted:




                                                                  [Opponent]




                                                                  Page 14114


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